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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               Case No. 14-CIV-61753-BLOOM/Valle


 KRISTIAN E. MIERZWICKI,

        Plaintiff,

 v.

 CITIGROUP, INC.,

       Defendant.
 _____________________________________/

                                   ORDER TO SHOW CAUSE

        This matter comes before the Court upon Pro Se Plaintiff Kristian E. Mierzwicki’s

 Second Amended Complaint, ECF No. [58].           Plaintiff Kristian E. Mierzwicki (“Plaintiff”)

 commenced this action almost one year ago, asserting a cause of action under the Telephone

 Consumer Protection Act, 47 U.S.C § 227, et seq. (“TCPA”). See ECF No. [1]. Since that time,

 this litigation has been plagued with attorney withdrawals, who have repeatedly cited

 irreconcilable differences.    See ECF Nos. [7], [9], and [48].      Notwithstanding Plaintiff’s

 indication that he wishes to proceed pro se, see ECF No. [55], Plaintiff has seemingly retained

 new counsel, see ECF No. [58].

        More importantly, the Court has yet to receive a response to Defendant Citibank, N.A.’s

 Motion to Dismiss, ECF No. [39], which was filed on April 3, 2015. After several extensions, a

 response to the Motion was required on or before July 17, 2015, ECF NO. [56], yet Plaintiff has

 opted to amend. Based on the record presented, this amendment is improper. Rule 15 provides

 that a party may amend as a matter of course (a) within 21 days after serving it, or (b) after 21
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 days after service of a responsive pleading.1 See Fed. R. Civ. P. 15(a). Neither of these

 situations is present. Moreover, Plaintiff has neither indicated that Defendant Citibank, N.A.

 consents to the amendment, nor has he sought the Court’s leave.

        Accordingly, it is hereby ORDERED AND ADJUDGED that on or before July 24,

 2015, Plaintiff shall show cause why the Court should not strike Plaintiff’s Second Amended

 Complaint and grant Defendant Citibank, N.A.’s Motion to Dismiss by default. Failure to

 respond to this Order will result in immediate dismissal without further notice.

        DONE AND ORDERED in Fort Lauderdale, Florida this 20th day of July, 2015.

 	
 	



                                                      ____________________________________
                                                      BETH BLOOM
                                                      UNITED STATES DISTRICT JUDGE



 Copies to:
 Counsel of Record




 																																																								
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    Rule 15 explicitly states that amendment is permitted “21 days after service of a responsive
 pleading or 21 days after service of a motion under Rule 12(b).” Fed. R. Civ. P. 15(a). The 21-
 day period was not automatically tolled by the Court’s extension of time.
